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 6
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 7

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 9
                          UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
                                 SOUTHERN DIVISION
12

13

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15    PAUL SAPAN,                                   Case No: 8:16-cv-01355 DOC (JCGx)

16
                   Plaintiff,                       NOTICE OF DISMISSAL
17
            vs.                                     WITH PREJUDICE
18

19    DAVANTI DIGITAL MEDIA, LLC, a
20
      New Jersey Limited Liability Company,
      VERONICA WRENN, an individual,
21

22                 Defendants.
23                                                  Judge: Hon. David O. Carter
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                                 Notice of Voluntary Dismissal
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 1
                        NOTICE OF VOLUNTARY DISMISSAL
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
 2

 3         PLAINTIFF HEREBY GIVES NOTICE that the above-captioned action is
 4
     voluntarily dismissed, with prejudice against all defendants (DAVANTI
 5

 6
     DIGITIAL MEDIA, LLC, and VERONICA WRENN, an individual) pursuant to

 7   the Federal Rules of Civil Procedure 41(a)(1)(A)(i). None of the Defendants have
 8
     filed or served an answer nor motion for summary judgment, therefore this Notice
 9

10   serves as the dismissal without prejudice pursuant to the Federal Rules of Civil
11
     Procedure 41(a)(1)(A)(i).
12

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14
     DATED: September 26, 2016                      PRATO & REICHMAN, APC
15

16

17                                                  /s/Christopher J. Reichman, Esq.
18
                                                    By: Christopher J. Reichman, Esq.
                                                    Prato & Reichman, APC
19                                                  Attorneys for Plaintiff
20                                                  PAUL SAPAN
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                                  Notice of Voluntary Dismissal
